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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 INV ACCELERATOR, LLC,                                 Case No. 1:19-cv-02276-AJN

                                      Plaintiff,

                      -against-

 VESTED INTEREST CO. D/B/A GOLDBEAN,
 MX TECHNOLOGIES, INC. and JANE
 BARRATT

                                      Defendants.



                         MEMORANDUM OF LAW IN SUPPORT
                         OF PLAINTIFF’S MOTION TO REMAND

        Plaintiff INV Accelerator, LLC (“INV” or “Plaintiff”), by its attorneys, Olshan Frome

Wolosky LLP, respectfully submits this memorandum of law in support of its motion to remand

the instant action to New York State Supreme Court pursuant to 28 U.S.C. § 1447(c) (the

“Motion”).

                                      Preliminary Statement

        Plaintiff commenced this action to recover damages arising from Defendants’ breach of

and tortious interference with an agreement between the parties through which Plaintiff agreed to

host Defendant GoldBean in its Accelerator Program in return for GoldBean’s issuance of a

simple agreement for future equity. Despite the occurrence of qualifying events, Plaintiff never

received the equity and/or cash payments it is entitled to under the parties’ agreement.

        GoldBean removed the action to this Court, invoking the Court’s diversity jurisdiction by

alleging that “the action is between citizens of different states.” Remand is mandated, however,

because complete diversity within the meaning of 28 U.S.C. § 1322(a) does not exist. As of the



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time this action was commenced, GoldBean’s principal place of business was in New York.

Accordingly, GoldBean is a citizen of the same state as Plaintiff and, as a result, this Court lacks

subject matter jurisdiction.

        GoldBean is well aware that complete diversity does not exist, and thus knew better than

to waste the Court’s time and resources, force Plaintiff to incur legal fees and prolong this action

by removing it. Therefore, the Court should remand this action to New York State Supreme

Court and award Plaintiff its attorney’s fees and costs pursuant to 28 U.S.C. § 1447(c).

                                Factual and Procedural Background

        The facts set forth below are from the Complaint filed in this action on March 29, 2019 as

well as the accompanying Declaration of Katelyn J. Patton (the “Patton Decl.”) and the exhibits

annexed thereto.

        Plaintiff INV Accelerator, LLC is a New York limited liability company with its

principal place of business in New York, New York. (Compl. ¶ 2.)

        Upon information and belief, Defendant Vested Interest Co. d/b/a GoldBean

(“GoldBean”) is a Delaware corporation with its principal place of business in New York.

(Compl. ¶ 3.)

        Upon information and belief, Defendant MX Technologies, Inc. (“MX”) is a Delaware

corporation with its principal place of business in Utah. (Compl. ¶ 4.)

        Upon information and belief, Defendant Jane Barratt is a citizen of Utah. (Compl. ¶ 5.)

She is GoldBean’s founder and former CEO. Id.

        Plaintiff commenced this action on February 7, 2019, by filing a Summons with Notice in

the Supreme Court of the State of New York, County of New York. (Patton Decl. ¶ 2.)




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GoldBean filed a Notice of Removal on March 13, 2019, citing federal diversity jurisdiction as

its basis. (Patton Decl. ¶ 3, Ex. A.) This Motion followed.

                                                Argument

                                                     I

                          THE COURT SHOULD REMAND THIS ACTION
                         FOR LACK OF SUBJECT MATTER JURISDICTION

        GoldBean has invoked this Court’s diversity jurisdiction under 28 U.S.C. § 1332(a).

While GoldBean is correct about the amount in controversy, its assertion that complete diversity

exists is inaccurate as a matter of law.

        The Court can exercise jurisdiction over this action if, and only if, the parties are diverse

within the meaning of 28 U.S.C. § 1332(a), which provides in pertinent part that “[t]he district

courts shall have original jurisdiction of all civil actions where the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and is between—(1) citizens of

different States …”

        It is axiomatic that diversity jurisdiction will not lie unless “all of the adverse parties in a

suit … [are] completely diverse with regard to citizenship.” E.R. Squibb & Sons, Inc. v. Accident

& Cas. Ins. Co., 160 F.3d 925, 930 (2d Cir. 1998). Moreover, “[t]he party seeking to invoke

jurisdiction under 28 U.S.C. § 1332 bears the burden of demonstrating that the grounds for

diversity exist and that diversity is complete.” Advani Enterprises, Inc. v. Underwriters at

Lloyds, 140 F.3d 157, 160 (2d Cir. 1998).

            For purposes of diversity jurisdiction, a corporation assumes the citizenship of both the

state in which it is incorporated and the state of its principal place of business, whereas the

citizenship of a limited liability company derives from the citizenship of each of its members.

France v. Thermo Funding Co., LLC, 989 F. Supp. 2d 287, 293–94 (S.D.N.Y. 2013); Mills 2011


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LLC v. Synovus Bank, 921 F. Supp. 2d 219, 220–21 (S.D.N.Y. 2013). Here, Plaintiff’s sole

member, Royal News Corp., is a New York corporation with its principal place of business in

New York. (Patton Decl. ¶ 4.) Thus, Plaintiff is a citizen of New York for purposes of

determining diversity jurisdiction. GoldBean is a citizen of both Delaware, its state of

incorporation, and New York, the state where it has its principal place of business.

        GoldBean alleges in its Notice of Removal that it is a citizen of Delaware, its place of

incorporation, and Utah, the location of its principal place of business, for diversity purposes.

But GoldBean intentionally misleads the Court:

                GoldBean is listed as an active corporation in the New York Department of

                 State’s Corporation and Business Entity Database. (Patton Decl. ¶ 5, Ex. B.)

                GoldBean’s “principal executive office” is listed in the New York Department of

                 State’s Corporation and Business Entity Database as 43 West 23rd Street, 6th

                 Floor, New York, New York, 10010, which is also the address listed for

                 GoldBean’s CEO, Jane Barratt. (Patton Decl. ¶ 5, Ex. B.)

                GoldBean’s website, which was active as recently as March 21, 2019, lists its

                 address as 43 West 23rd Street, 6th Floor, New York, New York, 10010. (Patton

                 Decl. ¶ 6, Ex. C.) The website also lists its telephone number as having a New

                 York area code, 347. Id.

                GoldBean’s Twitter account lists New York, NY as its location. (Patton Decl. ¶

                 7, Ex. D.)

                The registrant of the GOLDBEAN trademark is listed in the United States Patent

                 and Trademark Office database as Vested Interest Co. with a New York, New

                 York address. (Patton Decl. ¶ 8, Ex. E.)


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                According to the Utah Division of Corporations, GoldBean is not authorized to do

                 business in the State of Utah. (Patton Decl. ¶ 9, Ex. F.)

        GoldBean’s claim that its principal place of business is in Utah appears to be based on the

fact that its former CEO, Jane Barratt, is now employed by MX. But if Ms. Barratt indeed

moved to Utah, she did so not as GoldBean’s CEO, but rather as an employee of MX. New

York remains as GoldBean’s principal place of business.

        Accordingly, GoldBean is a citizen of Delaware and New York, and complete diversity

as required by 28 U.S.C. § 1332(a) does not exist in this action.

                                                  II

                        THE COURT SHOULD AWARD PLAINTIFF ITS
                               LEGAL FEES AND COSTS

        The Court should award Plaintiff the attorney’s fees and disbursements it has incurred in

bringing this Motion because GoldBean lacked an objectively reasonable basis for removal. The

statutory authority for this award is found in 28 U.S.C. § 1447(c), which provides in pertinent

part that “[a]n order remanding the case may require payment of just costs and any actual

expenses, including attorney fees, incurred as a result of the removal.”

        In Martin v. Franklin Capital Corporation, the United States Supreme Court held that

“the standard for awarding fees should turn on the reasonableness of the removal.” 546 U.S.

132, 141 (2005). The court expressly acknowledged Congress’ “desire to deter removals sought

for the purpose of prolonging litigation and imposing costs on the opposing party,” id. at 140,

and highlighted a party’s “failure to disclose facts necessary to determine jurisdiction” as a factor

affecting a court’s decision to award attorney’s fees. Id. at 141.

        In Prescia v. United States Life Insurance Company in the City of New York, this Court

awarded to the plaintiff his reasonable attorney’s fees and costs incurred with respect to his


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motion to remand “because removal was predicated upon a diversity of citizenship that clearly

does not exist.” No. 10-cv-2518, 2010 WL 4344561, at *3 (S.D.N.Y. Nov. 1, 2010) (internal

quotations omitted). As the court explained, “[e]ven the most basic of research would have

revealed that this Court does not have jurisdiction over this action.” Id.

        Similarly, here, GoldBean clearly lacks an objectively reasonable basis for removing this

matter on the stated basis of diversity of citizenship. Such circumstances compel a conclusion

that GoldBean removed this action “for the purpose of prolonging litigation and imposing costs

on” Plaintiff rather than a good-faith basis.

                                                Conclusion

        For the reasons set forth above, Plaintiff respectfully requests that the Court remand this

action to New York State Supreme Court, issue an Order awarding Plaintiff the attorney’s fees

and costs it incurred in bringing this Motion, and grant such other and further relief as this Court

deems just and proper.

Dated: New York, New York
       March 29, 2019
                                                        OLSHAN FROME WOLOSKY LLP


                                                        By: /s/ Katelyn J. Patton
                                                            Renée M. Zaytsev
                                                            Katelyn J. Patton
                                                            Attorneys for Plaintiff
                                                            INV Accelerator, LLC
                                                            1325 Avenue of the Americas
                                                            New York, New York 10019
                                                            (212) 451-2300




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